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                 Certification of Neal Sher Esq. Page 1 of 1



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Timothy P. Neumann, Esq. [TN6429]
 BROEGE, NEUMANN, FISCHER & SHAVER, LLC
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 Attorneys for Debtor/Debtor-in-Possession
 American Center for Civil Justice, Inc.

 In Re
                                                                   CHAPTER 11
 AMERICAN CENTER FOR CIVIL JUSTICE, INC.,
                                                                   CASE NO.: 18-15691/CMG
            Debtor.
                                                                   Judge: Hon. Christine M. Gravelle


             CERTIFICATION OF NEAL SHER IN SUPPORT OF MOTION TO QUASH
            SUBPOENAS SERVED ON LOEB & LOEB, LLP AND CAPLIN & DRYSDALE

           Neal Sher, of full age, hereby certifies as follows:

    1. I am the general counsel of the American Center for Civil Justice, Inc.

    2. Annexed hereto as Exhibit A is a copy of a subpoena (the “Subpoena”) served on the law firm of

           Loeb & Loeb, LLP (“L&L”)

    3. Annexed hereto as Exhibit B is a copy of the April 2, 2015 Engagement Agreement between the

           Debtor and L&L.

    4. Annexed hereto as Exhibit C is a copy of a subpoena (the “Subpoena”) served on the law firm of

           Caplin & Drysdale.

    5. Annexed hereto as exhibit D are copies of invoices for legal services rendered to the Debtor by the

           firm of Caplin & Drysdale (privileged content redacted).

    6. I certify that the above statements are true. I acknowledge that if any of the above statements are

           willfully false, I am subject to punishment.

                                                                  By: /s/ Neal Sher
     Dated: January 29, 2019                                          NEAL SHERs
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